           Case 1:17-vv-01426-UNJ Document 44 Filed 10/11/19 Page 1 of 4




         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 17-1426V
                                       Filed: July 24, 2019
                                         UNPUBLISHED


    LINDSEY LALLY,

                         Petitioner,                          Special Processing Unit (SPU); Fact
    v.                                                        Ruling; Onset; Tetanus Diphtheria
                                                              acellular Pertussis (Tdap) Vaccine;
    SECRETARY OF HEALTH AND                                   Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                           Administration (SIRVA)

                        Respondent.


Amber Diane Wilson, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.
Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                                             FACT RULING1

Dorsey, Chief Special Master:

       On October 4, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that that she suffers from a left shoulder injury related
to vaccine administration (“SIRVA”), resulting from a Tetanus-Diphtheria-acellular
Pertussis (“Tdap”) vaccine administered on August 8, 2016. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.



1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:17-vv-01426-UNJ Document 44 Filed 10/11/19 Page 2 of 4



      For the reasons discussed below, the undersigned finds the onset of petitioner’s
shoulder injury related to vaccine administration (“SIRVA”) occurred within 48 hours of
vaccination. Specifically, petitioner suffered pain within 48 hours of vaccination.


   I.      Relevant Procedural History

       In support of her claim, petitioner filed medical records (Exs. 1-3, 5-7, 9), her own
affidavit (Ex. 4), and an affidavit from her friend and former co-worker, Deidre Ryan-
Delaney (Ex. 10). Deadlines for respondent to report his position in the case were set
following the November 6, 2017 initial status conference. Orders, ECF Nos. 9, 11, 14,
16, 19. On July 6, 2018, respondent reported that he intended to contest entitlement.
ECF No. 21.

       Respondent filed his Rule 4(c) report contesting entitlement on September 4,
2018. ECF No. 24. The undersigned ordered respondent to file an amended report
addressing petitioner’s evidence in greater detail. Order, ECF No. 25. Respondent filed
an amended Rule 4(c) report on October 23, 2018. Resp.’s Am. Rep., ECF No. 27. In
his amended report, respondent argued that petitioner had not met her burden of
establishing that the onset of her alleged shoulder injury occurred within 48 hours of her
August 8, 2016 Tdap vaccination. Id. at 4-6. A status conference was held on
November 26, 2018 to discuss resolving the parties’ onset dispute by fact ruling. Order,
ECF No. 28.

       Thereafter, the undersigned reviewed the evidence and determined that a fact
hearing would not be necessary. Order, ECF No. 32. A schedule for concurrent
briefing without responses was set. Id. The parties filed their briefs on June 4, 2019.
Pet.’s Mot., ECF No. 38; Resp.’s Brief, ECF No. 37. The matter is now ripe.


   II.     Issue

      At issue is whether petitioner’s first symptom or manifestation of onset after
vaccine administration was within 48 hours as set forth in the Vaccine Injury Table. 42
C.F.R. § 100.3(a) I.C & II.C. (2017) (Tdap vaccination). Additionally, the Qualifications
and aids to interpretation (“QAI”) for a Table SIRVA requires that a petitioner’s pain
occur within this same time frame, 48 hours. 42 C.F.R. § 100.3(c)(10).


   III.    Authority

       Pursuant to Vaccine Act § 13(a)(1)(A), a petitioner must prove, by a
preponderance of the evidence, the matters required in the petition by Vaccine Act
§ 11(c)(1). A special master may find that the first symptom or manifestation of onset of

                                             2
             Case 1:17-vv-01426-UNJ Document 44 Filed 10/11/19 Page 3 of 4



an injury occurred “within the time period described in the Vaccine Injury Table even
though the occurrence of such symptom or manifestation was not recorded or was
incorrectly recorded as having occurred outside such period.” Vaccine Act § 13(b)(2).
“Such a finding may be made only upon demonstration by a preponderance of the
evidence that the onset [of the injury] . . . did in fact occur within the time period
described in the Vaccine Injury Table.” Id.
       A special master must consider, but is not bound by, any diagnosis, conclusion,
judgment, test result, report, or summary concerning the nature, causation, and
aggravation of petitioner’s injury or illness that is contained in a medical record.
Vaccine Act § 13(b)(1). “Medical records, in general, warrant consideration as
trustworthy evidence. The records contain information supplied to or by health
professionals to facilitate diagnosis and treatment of medical conditions. With proper
treatment hanging in the balance, accuracy has an extra premium. These records are
also generally contemporaneous to the medical events.” Curcuras v. Sec’y of Health &
Human Servs., 993 F.2d 1525, 1528 (Fed. Cir. 1993).

   IV.        Finding of Fact

        The undersigned makes the finding after a complete review of the record to
include all medical records, affidavits, testimony, expert reports, respondent’s Rule 4
report, and additional evidence filed. Specifically, the undersigned bases the finding on
the following evidence:

         •    Petitioner received the Tdap vaccine in her left deltoid on August 8, 2016. Ex.
              1 at 1; Ex. 2 at 41; Ex. 9 at 9.
         •    Petitioner avers that when receiving her August 8, 2016 Tdap vaccine, the
              administering nurse stuck the needle into petitioner’s arm twice causing
              significant and immediate pain. Ex. 4 at 1-2.
         •    Petitioner emailed her primary care physician on November 28, 2016 stating
              that during administration of Tdap vaccine, she “jerked [her] arm back and it
              came out before it was complete. The nurse then did it again.” Ex. 5.
              Petitioner reported that she “had the usual pain afterwards, but [she] still ha[s]
              pain in [her] arm at the injection spot and it seems to be getting worse.” Id.
         •    On December 8, 2016, petitioner was seen by Anthony K. Park, M.D., a
              doctor at petitioner’s PCP’s office, with complaints of left shoulder pain that
              petitioner related to the Tdap vaccination of August 8, 2016. Ex. 2 at 60.
              Petitioner reported that her left shoulder hurt immediately after vaccination,
              and that she experienced some bruising for one and one-half weeks. Id.
         •    Petitioner began physical therapy on January 12, 2017. Ex. 2 at 75. During
              this session, petitioner reported that her left shoulder pain began “after getting
              her TDAP shot.” Id. at 75.
         •    Petitioner went for an orthopedic consult on April 25, 2017. Ex. 3 at 5. The
              history from this appointment indicates that petitioner “associated shoulder
              pain with Tdap given last year.” Id.


                                                 3
            Case 1:17-vv-01426-UNJ Document 44 Filed 10/11/19 Page 4 of 4



        •    Petitioner had a phone consultation with orthopedist Dr. David Yi on July 25,
             2017 discussing her treatment options. Ex. 7 at 6. The record from this
             consultation notes that petitioner “has had L shoulder pain for 1+ yr, coincided
             with tetanus shot.” Id.

       The above medical entries are consistent with petitioner’s affidavit testimony that
her pain began at the time she received the Tdap vaccine on August 8, 2016.
Petitioner’s former co-worker and friend, Ms. Ryan-Delaney, also recalls petitioner
complaining of shoulder pain starting upon receipt of the Tdap vaccination in August
2016. Ex. 10. The undersigned finds the sworn testimony of petitioner and her witness
to be credible and in agreement with the contemporaneously created treatment records.
As such, the undersigned finds preponderant evidence that the onset of petitioner’s left
shoulder injury occurred within 48 hours of her August 8, 2016 Tdap vaccination.


   V.        Scheduling Order

       Respondent shall file a status report by Thursday, September 5, 2019,
indicating whether he is interested in exploring an informal resolution of petitioner’s
claim.


IT IS SO ORDERED.

                                                   s/Nora Beth Dorsey
                                                   Nora Beth Dorsey
                                                   Chief Special Master




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